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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                    )
                                             )
               v.                            )       CRIMINAL NO. 16-10343-ADB
                                             )
ALEC BURLAKOFF,                              )
     Defendant.                              )
                                             )


              PRELIMINARY ORDER OF FORFEITURE (INSYS STOCK)

BURROUGHS, D.J.

       WHEREAS, on September 11, 2018, a federal grand jury sitting in the District of

Massachusetts returned a one-count Second Superseding Indictment, charging defendant Alec

Burlakoff (the “Defendant”), and others, with Racketeering Conspiracy, in violation of 18 U.S.C.

§ 1962(d);

       WHEREAS, the Indictment also included a forfeiture allegation, pursuant to 18 U.S.C.

§ 1963, which provided notice that the United States intended to seek forfeiture, upon conviction

of the Defendant of the offense in violation of Count One of the Second Superseding Indictment,

of the following:

       a.      any interest acquired or maintained in violation of 18 U.S.C. § 1962;

       b.      any interest in, security of, claim against, or property or contractual right of any
               kind affording a source of influence over, any enterprise established, operated,
               controlled, conducted, or participated in the conduct of, in violation of 18 U.S.C.
               § 1962; and

       c.      any property constituting, or derived from, any proceeds obtained, directly or
               indirectly, from racketeering activity in violation of 18 U.S.C. § 1962;

       WHEREAS, the property to be forfeited included, but was not limited to:
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        a.      any and all shares of the Company (NASDAQ) stock, or options to purchase shares
                of the Company stock, held by or on behalf of the defendants herein;

        b.      any and all securities, salaries, bonuses, stock distributions, retirement
                contributions and accounts, health and life insurance benefits, including premium
                payments, and any and all other benefits obtained through employment by and
                association with the entities named in the racketeering enterprise alleged in Count
                One, from 2012 through December 2015; and

        c.      an Order of Forfeiture (Money Judgment) equal to the amount of proceeds each
                Defendant obtained, directly or indirectly, as a result of the offense alleged in Count
                One of the Second Superseding Indictment;

        WHEREAS, on November 28, 2018, at a hearing pursuant to Rule 11 of the Federal Rules

of Criminal Procedure, the Defendant pled guilty to Count One of the Second Superseding

Indictment;

        WHEREAS, pursuant to 18 U.S.C. § 1963(a)(3), RICO’s proceeds forfeiture mandate, the

Defendant must forfeit any property constituting or derived from proceeds he obtained, directly or

indirectly, as a result of racketeering activity;

        WHEREAS, the Defendant has ownership of shares of INSY (NASDAQ), or options to

purchase shares of INSY, held by or on behalf of the Defendant (collectively, the “Stock”);

        WHEREAS, based on the Defendant’s guilty plea and admissions at the November 28,

2018 plea hearing, and the information in the United States’ Motion for Orders of Forfeiture, filed

herewith, the United States has established the requisite nexus between the Stock and the crimes

to which the Defendant pled guilty; and

        WHEREAS, pursuant to 18 U.S.C. § 1963(a)(3) and Rule 32.2(b)(2) of the Federal Rules

of Criminal Procedure, the United States is now entitled to a Preliminary Order of Forfeiture

against the Stock.



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         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

         1.     The Court finds, pursuant to Rule 32.2(b)(1) of the Federal Rules of Criminal

Procedure, that the United States has established the requisite nexus between the Stock and the

offenses to which the Defendant pled guilty.

         2.     The Court shall retain jurisdiction in this case for the purpose of enforcing this

Order.

         3.     Accordingly, all of the Defendant’s interests in the Stock are hereby forfeited to

the United States of America for disposition pursuant to 18 U.S.C. § 1963.

         4.     Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure and 18

U.S.C. § 1963(e), the United States is hereby authorized to seize the Stock and maintain it in its

secure custody and control.

         5.     Pursuant to 18 U.S.C. § 1963(l), the United States shall publish, for thirty (30)

consecutive calendar days on the government forfeiture website www.forfeiture.gov, notice of

the Preliminary Order of Forfeiture and notice of the United States’ intent to dispose of the

Stock.

         6.     Pursuant to 18 U.S.C. § 1963(l), the United States shall give, to the extent

practicable, direct written notice to any person known to have alleged an interest in the Stock to

be forfeited.

         7.     Pursuant to 18 U.S.C. § 1963(l), the notice referred to above shall state: (a) that

any person, other than the Defendant, asserting a legal interest in the Stock, shall, within sixty

(60) days after the first day of publication on the government forfeiture website or within thirty

(30) days after receipt of actual notice, whichever is earlier, file a petition with the United States


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District Court in Boston, Massachusetts, requesting a hearing to adjudicate the validity of his or

her interest in the Stock; and (b) that the petition shall be signed by the petitioner under the

penalty of perjury and shall set forth the nature and extent of the petitioner’s right, title, or

interest in the Stock, the time and circumstances of the petitioner’s acquisition of the right, title,

or interest in the Stock, any additional facts supporting the petitioner’s claim, and the relief

sought.

          8.    Pursuant to 18 U.S.C. § 1963(l), following the Court’s disposition of all petitions

filed under 18 U.S.C. §§ 1963(2) and (3), or if no such petitions are filed following the

expiration of the period provided in 18 U.S.C. § 1963(l)(2) for the filing of such petitions, the

United States of America shall have clear title to the Stock.

          9.    Upon adjudication of all third party interests, this Court will enter a Final Order of

Forfeiture, pursuant to 18 U.S.C. § 1963 and Rule 32.2(c) of the Federal Rules of Criminal

Procedure, in which all interests will be addressed.

          10.   Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will become final as to the Defendant at the time of his

sentencing, will be part of the Defendant’s criminal sentence, and will be included in the

criminal judgment entered by this Court against him.




                                                        ALLISON D. BURROUGHS
                                                        United States District Judge


Dated:



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